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                                 #:29733




                                                       Evidence Packet P.1457
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                                 #:29734




                                                       Evidence Packet P.1458
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                                 #:29735




                                                       Evidence Packet P.1459
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
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                                                       Evidence Packet P.1460
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29737




                                                       Evidence Packet P.1461
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                                                       Evidence Packet P.1462
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                                                       Evidence Packet P.1463
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
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                                                       Evidence Packet P.1464
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29742




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29743




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29746




                                                        Evidence Packet P.1470
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29747




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29748




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29749




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                                  #:29750




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29751




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29753




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29754




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